           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                          CRIMINAL NO. 1:06CR5-4


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )                    ORDER
                          )
                          )
DREAMA DAWN FREEMAN                     )
                        )


      THIS MATTER is before the Court on Defendant's motion to

suppress.

      IT IS, THEREFORE, ORDERED that a ruling on the Defendant's

motion to suppress is hereby DEFERRED until such issue is raised during

the trial of this case.

                                    Signed: March 22, 2006




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